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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00235-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. CHRISTOPHER FASSIH,

       Defendant.


      ORDER DETERMINING COMPETENCY AND COMMITTING DEFENDANT


       On November 10, 2021, this matter came before the Court for a hearing under 18

U.S.C. §§ 4241 and 4247(d) for a determination of the defendant’s competency. [ECF

#30]. The hearing in this matter followed an unopposed motion for a competency

evaluation filed by the defendant on August 30, 2021. [ECF #21]. At the November 10,

2021 hearing, the parties asked this Court to rely on the forensic evaluation of Dr.

Jessica Minoco, Psy.D., filed under restriction on October 22, 2021 (the “Forensic

Evaluation”). [ECF #28].

       The Court has considered the relevant facts, including and especially the

Forensic Evaluation of Dr. Minoco, and finds as follows, pursuant to 18 U.S.C. §

4142(d):

       1.      Pursuant to the order for competency evaluation and 18 U.S.C. § 4247(b),

Dr. Jessica Minoco, Phy.D, a forensic psychologist, conducted a psychological

competency evaluation of the defendant. Dr. Minoco’s Forensic Evaluation includes the

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information, diagnoses, and opinions required pursuant to the provisions of 18 U.S.C.

§§ 4247(c)(1)-(4). The Court relies on and incorporate the findings, diagnoses, and

opinions of Dr. Minoco.

       2.     Within the meaning of 18 U.S.C. § 4241(a), the defendant is presently

suffering from a mental disease or defect rending him mentally incompetent to the

extent that he is unable to understand the nature and consequences of the proceedings

against him or to assist properly in his defense. He is therefore not presently competent

to proceed.

       3.     Pursuant to the provisions of 18 U.S.C. § 4241(d)(1), the defendant must

be committed to the custody of the Attorney General for hospitalization and treatment in

a suitable facility, as defined in 18 U.S.C. § 4247(a)(2), to determine whether there is a

substantial probability that in the foreseeable future he will attain the capacity to permit

the proceedings to go forward.

       4.     Pursuant to 18 U.S.C. §§ 3161(h)(1)(A) and (4), the period of delay

resulting from these ongoing competency proceedings should be excluded in computing

the time within which the trial must commence under 18 U.S.C. § 3161(c).

       THEREFORE, IT IS ORDERED:

       1.     That the defendant, CHRISOPHER FASSIH, is declared incompetent to

proceed;

       2.     That pursuant to and subject to the provisions of 18 U.S.C. § 4241(d)(1),

the defendant is committed to the custody of the Attorney General for hospitalization

and treatment in a suitable facility for such a reasonable period, not to exceed four


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months, to determine whether there is a substantial probability that in the foreseeable

future the defendant will attain the capacity to permit the proceedings to go forward; and

      3.     That pursuant to 18 U.S.C. §§ 3161(h)(1)(A) and (4), the period of delay

resulting from these competency proceedings shall be excluded in computing the time

within which trial must commence under 18 U.S.C. § 3161(c).

      Dated November 17, 2021, at Denver, Colorado.



                                                BY THE COURT:




                                                _________________________
                                                HON. R. BROOKE JACKSON
                                                UNITED STATES DISTRICT JUDGE




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